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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                  Case No. 1:08-cr-00274
                                    )
v.                                  )                  Honorable Paul L. Maloney
                                    )
ALVIN KEITH JACKSON ,               )
                                    )
            Defendant.              )
____________________________________)


                             REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on March 18, 2009, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Alvin Keith Jackson entered a plea of guilty to the Indictment in exchange for

the undertakings made by the government in the written plea agreement. In the Indictment,

defendant is charged with conspiracy to distribute and possess with intent to distribute 5 kilograms

or more of cocaine in violation of 21 U.S.C. §§ 846 and 841(a)(1). On the basis of the record made

at the hearing, I find that defendant is fully capable and competent to enter an informed plea; that

the plea is made knowingly and with full understanding of each of the rights waived by defendant;

that it is made voluntarily and free from any force, threats, or promises, apart from the promises in

the plea agreement; that the defendant understands the nature of the charge and penalties provided

by law; and that the plea has a sufficient basis in fact.
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               I therefore recommend that defendant's plea of guilty to the Indictment be accepted,

that the court adjudicate defendant guilty, and that the written plea agreement be considered for

acceptance at the time of sentencing. Acceptance of the plea, adjudication of guilt, acceptance of

the plea agreement, and imposition of sentence are specifically reserved for the district judge.



Date: March 24, 2009                                   /s/ Ellen S. Carmody
                                                      ELLEN S. CARMODY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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